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                        IN THE UNITED STATES DISTRICT COURT


                      FOR THE SOUTHERN DISTRICT OF GEORGIA


                                    AUGUSTA DIVISION


UNITED STATES OF AMERICA


               VS.                                                CASE NO: CR115-077


KENNY DANFORD


                                          ORDER


       The Defendant, Kenny Danford, was sentenced on March 24, 2016, and is in the custody

of the Bureau of Prisons.

       Surety, Carolyn Worthington, has requested the return of the $2,000.00 cash security

posted on the defendant's $20,000.00 bond.

       IT IS HEREBY ORDERED that the cash collateral in the amount of $2,000.00 posted

by CarolynWorthington for this defendant, plus all accrued interestthereon, be returnedto:

Carolyn Worthington at P.O. Box 1277, Wadley, Georgia, 30477.




       This gg^^day of. &&*J&                   2016 at Augusta, Georgia.




                                                   j. ran^Thall^district Judge
                                                   UNITED STATES DISTRICT COURT
                                                       THERN DISTRICT OF GEORGIA
